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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                       :       CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.                    :       CHAPTER 7
                                              :
                Debtor.                       :       JUDGE BAISIER

 MOTION OF TRUSTEE FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
     AUTHORIZING EXAMINATION OF SOUTHSTATE BANK, NATIONAL
  ASSOCIATION (INC.) FKA ATLANTIC CAPITAL BANK, N.A. AND DIRECTING
                  THE PRODUCTION OF DOCUMENTS

        COMES NOW, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the Estate (the

 “Estate”) of Atlanta Light Bulbs, Inc., Debtor (“Debtor”) in the above captioned Bankruptcy Case

 (the “Bankruptcy Case”), by and through counsel, and hereby files this Motion of Trustee for an

 Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of SouthState Bank, National

 Association (Inc.) fka Atlantic Capital Bank, N.A. (“SouthState”) and Directing the Production of

 Documents (the “Motion”). In support of the Motion, the Trustee respectfully shows the Court as

 follows:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §1334.

 This is a core proceeding pursuant to 28 U.S.C. §157(B). Venue of this proceeding is proper in

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.      The predicates for the relief requested herein are Section 105(a) of Title 11 of the

 United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule 2004 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2004-1 of the Local Rules

 of Practice for the United States Bankruptcy Court for the Northern District of Georgia.
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                                PROCEDURAL BACKGROUND

        3.      On April 15, 2022, Halco Lighting Technologies, LLC, Norcross Electric Supply

 Company and Candela Corporation filed an involuntary petition for relief under Chapter 11 of

 Title 11 of the United States Code against the Debtor in the United States Bankruptcy Court for

 the Northern District of Georgia (the “Court”).

        4.      On May 23, 2022, the Court entered an Order for Relief under Chapter 11 of the

 Bankruptcy Code [Doc. No. 21].

        5.      On June 15, 2022, the Court entered an order [Doc. No. 58] directing the

 appointment of a Chapter 11 Trustee on behalf of Debtor.

        6.      On June 17, 2022, the Court entered an order [Doc. No. 68] approving the Trustee

 as Chapter 11 Trustee for Debtor.

        7.      On June 23, 2022, the United States Trustee conducted and concluded the Section

 341 meeting of creditors at which the Debtor’s principal, Jessica Mendoza (“Mendoza”), appeared

 and testified under oath regarding the business of the Debtor.

        8.      On July 7, 2022, the Court entered an order [Doc. No. 109] converting the

 Bankruptcy Case to Chapter 7 and directing the United States Trustee to appoint an interim Chapter

 7 Trustee in the Bankruptcy Case.

        9.      On July 7, 2022, the United States Trustee appointed S. Gregory Hays as the interim

 Trustee of the Debtor.

                                SUBSTANTIVE BACKGROUND

        10.     With the assistance of the professionals of the Trustee, the Trustee has, among other

 things, conducted an initial and preliminary investigation of the affairs of the Debtor that has been

 hindered by a lack of documentation, records, and information generally. As this is an involuntary




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 case, no schedules were filed by the Debtor. There is significant uncertainty as to the assets,

 liabilities, and the disposition of the assets of the Debtor. Additional documentation and

 information is needed for the Trustee to further understand transactions involving the Debtor and

 potential causes of action available for the benefit of the Estate.

         11.     At this juncture, the Trustee is aware that the Debtor had at least one account with

 SouthState and does not have complete information, records and statements regarding such

 account(s). The Trustee has reason to believe that SouthState may have information, statements

 electronically stored information, knowledge, data, records, communications, correspondence,

 and/or documents (collectively, the “Documents”) relevant to the Bankruptcy Case and the

 investigation of the Trustee. These Documents include, but are not limited to, information, records,

 and statements regarding account(s) of the Debtor. Since the Debtor maintained at least one

 account with SouthState, these Documents may also be property of the Estate.

                        RELIEF REQUESTED AND BASIS THEREFOR

         12.     Bankruptcy Rule 2004 allows for the examination of the Debtor and non-debtor

 entities relating “to the acts, conduct, or property or to the liabilities and financial condition of the

 debtor, or to any matter which may affect the administration of the debtor’s estate.” Fed. R. Bankr.

 P. 2004(b). Courts interpret the right to use Rule 2004 as an investigative tool very broadly,

 likening such examinations as licensed “fishing expeditions.” See In re M4 Enters, Inc., 190 B.R.

 471, 474 (Bankr. N.D. Ga. 1995).

         13.     Section 704 of the Bankruptcy Code sets forth the duties of the Trustee, including

 the duty to “investigate the financial affairs of the debtor.” See 11 U.S.C. § 704(a)(4). By this

 Motion, the Trustee seeks to continue to fulfill his statutory duty to investigate the financial affairs

 and assets of the Debtor and attempt to determine whether any: a) assets or opportunities were




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 diverted or improperly transferred from the Debtor; and b) causes of action are available for the

 benefit of the Estate.

        14.     Under the circumstances, the Trustee should be permitted to conduct an

 examination of SouthState concerning any and all matters within the scope permitted by Rule

 2004(b) (the “Bankruptcy Rule 2004 Exam”) and obtain the Documents from SouthState. The

 topics to be covered in the Bankruptcy Rule 2004 Exam and the Documents to be produced prior

 to the Bankruptcy Rule 2004 Exam are specified in the Trustee’s Notice of Bankruptcy Rule 2004

 Examination of SouthState Bank, National Association (Inc.) fka Atlantic Capital Bank, N.A. and

 the Production of Documents attached hereto as Exhibit 1.

        WHEREFORE, the Trustee requests that this Court: (a) grant this Motion by entering an

 order substantially in the form of the proposed order attached as Exhibit 2 hereto; and (b) grant

 the Trustee such other and further relief as is just and proper.

        Respectfully submitted this 21st day of July, 2022.

                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                     /s/ Henry F. Sewell, Jr.
                     Henry F. Sewell, Jr.
                     Georgia Bar No. 636265
                     Buckhead Centre
                     2964 Peachtree Road NW, Suite 555
                     Atlanta, GA 30305
                     (404) 926-0053
                     hsewell@sewellfirm.com

                     Counsel for S. Gregory Hays, as Chapter 7 Trustee of Atlanta Light Bulbs, Inc.




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                                    EXHIBIT 1
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                      :      CASE NO. 22-52950-PMB
                                             :
 ATLANTA LIGHT BULBS, INC.                   :      CHAPTER 7
                                             :
               Debtor.                       :      JUDGE BAISIER

 NOTICE OF BANKRUPTCY RULE 2004 EXAMINATION OF SOUTHSTATE BANK,
 NATIONAL ASSOCIATION (INC.) FKA ATLANTIC CAPITAL BANK, N.A. AND THE
                    PRODUCTION OF DOCUMENTS

 TO:    SouthState Bank, National Association (Inc.)
        c/o Corporation Service Company
        2 SUN COURT, SUITE 400
        PEACHTREE CORNERS, GA, 30092

        SouthState Bank, National Association (Inc.)
        c/o John Corbett, CEO
        1101 First Street South
        Winter Haven, FL, 33880

        Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

 Procedure, a representative of SouthState Bank, National Association (Inc.) fka Atlantic Capital

 Bank, N.A. (“SouthState” or the “Witness”) is required to attend an examination (the

 “Examination”) by S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the Estate (the

 “Estate”) of Atlanta Light Bulbs, Inc., Debtor (“Debtor”) in the above captioned Bankruptcy Case

 (the “Bankruptcy Case”), pursuant to the Order by the United States Bankruptcy Court for the

 Northern District of Georgia dated ________, 2022 (Dkt. No. ____, the “Examination Order”)

 authorizing the Examination of SouthState as to any and all matters within the scope of the

 Bankruptcy Case permitted by Rule 2004(b). The Examination will commence at 10:00 a.m., on

 August ___, 2022, at the Law Offices of Henry F. Sewell Jr., LLC, located at 2964 Peachtree Road

 NW, Suite 555, Atlanta, GA 30305, or as otherwise agreed to by the parties. The Examination will
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 be recorded stenographically, and may be recorded by audio or video tape, before an officer

 qualified to make such examinations and continue from day to day until completed. The

 Examination will be taken for the purposes of discovery in the Bankruptcy Case and for all other

 purposes permitted by law, including use at trial, if and where appropriate.

         PLEASE TAKE NOTICE that SouthState is required to designate a representative to

 attend and testify at the Examination as to any and all matters within the scope of the Bankruptcy

 Case permitted by Rule 2004(b), including, but not limited to, the following: a) any account(s) of

 the Debtor at SouthState; and b) any Documents1 related to any account(s) of the Debtor with

 SouthState.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rule 2004(c),

 SouthState is further instructed to produce for inspection and copying at the Law Offices of Henry

 F. Sewell Jr., LLC, located at 2964 Peachtree Road NW, Suite 555, Atlanta, GA 30305, at 10:00




 1
   “Document” and “Documents” are used in the broadest possible sense and include, but are not limited
 to, all original and all non-identical copies of any writing or record of any type or description, including,
 but not limited to, the following items, and each draft thereof: writings, recordings, notes, photographs,
 financial statements, agreements, contracts, legal documents, communications, e-mails, Correspondence,
 letters, statements, reports, envelopes, phone messages, telephone logs, agendas, books, articles, receipts,
 purchase orders, sales orders, tape recordings, affidavits, opinions, notices, proposals, invoices,
 confirmations, telegrams, cables, memoranda, records, summaries of records, summaries of data,
 summaries of personal conversations or interviews, diaries, appointment books, appointment logs, desk
 calendars, pocket calendars, forecasts, statistical statements, accounts, work papers and related supporting
 documents, graphs, charts, maps, diagrams, blue prints, tables, indexes, pictures, tapes, microfilms, charges,
 analytical records, minutes or records of meetings or conferences, reports and/or summaries of interviews,
 reports and/or summaries of investigations, opinions or reports of consultants, appraisals, records, reports
 or summaries of negotiations, brochures, pamphlets, circulars, trade letters, press releases, stenographic,
 handwritten or any other notes, projections, bank statements, checks (front and back), check stubs or
 receipts, checkbooks, canceled checks, invoice vouchers, electronically or magnetically recorded or stored
 data, data tapes and sheets or data processing cards or discs or any other computer-related data compilation,
 and any other written, recorded, printed, typed, photographed, transcribed, punched, taped, filmed, or
 electronically or graphically recorded documents or writings of whatever description however produced or
 reproduced, including but not limited to, any information contained in any computer although not yet
 printed, within your possession, custody or control or in the possession, custody or control of any agent,
 employee (including without limitation, attorneys, accountants and investment bankers or advisors), or
 other Person acting on your behalf.


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 a.m. on August ___, 2022, or as otherwise agreed to by the parties, any Documents, including any

 bank statements, checks, wire transfer receipts, records of transactions, Communications,2 or

 Correspondence,3 related to any account(s) of the Debtor with SouthState.

        Dated this _____ day of July, 2022.

                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                     /s/ Henry F. Sewell, Jr.
                     Henry F. Sewell, Jr.
                     Georgia Bar No. 636265
                     Buckhead Centre
                     2964 Peachtree Road NW, Suite 555
                     Atlanta, GA 30305
                     (404) 926-0053
                     hsewell@sewellfirm.com
                     Counsel for S. Gregory Hays, as Chapter 7 Trustee of Atlanta Light Bulbs, Inc.




 2
   “Communication” or “communications” means any contact or act by which any information or
 knowledge is transmitted or conveyed between two or more Persons and shall include, without limitation,
 written contact by such means as letters, memoranda, Correspondence, telegrams, telex, or by any
 document, and oral contact by such means as face-to-face meetings and telephone conversations.
 3
   “Correspondence” means all Documents transmitted from one Person to another, including those in
 electronic form, and all attachments to such Documents.


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                                    EXHIBIT 2
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                       :       CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.                    :       CHAPTER 7
                                              :
                 Debtor.                      :       JUDGE BAISIER

    ORDER GRANTING MOTION OF TRUSTEE FOR AN ORDER PURSUANT TO
    BANKRUPTCY RULE 2004 AUTHORIZING EXAMINATION OF SOUTHSTATE
   BANK, NATIONAL ASSOCIATION (INC.) FKA ATLANTIC CAPITAL BANK, N.A.
            AND DIRECTING THE PRODUCTION OF DOCUMENTS


           The Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of

 SouthState Bank, National Association (Inc.) fka Atlantic Capital Bank, N.A. and Directing the

 Production of Documents (Doc. No. ____, the “Motion”) filed on July 21, 2022 by S. Gregory

 Hays, as Chapter 7 Trustee (“Trustee”) for the Estate (the “Estate”) of Atlanta Light Bulbs, Inc.,

 having been read and considered, it is

           ORDERED that the Motion be, and the same hereby is, granted as follows: pursuant to

 Fed.R.Bankr.P. 2004(a), the Movant is authorized to proceed with discovery and conduct an

 examination of SouthState Bank, National Association (Inc.) fka Atlantic Capital Bank, N.A.

 (“Atlantic Capital”) in accordance with Fed.R.Bankr.P. 2004(b) at a mutually agreed date, time,

 and place. It is further

           ORDERED that the examination may be rescheduled or adjourned from time to time and

 place to place by agreement of the parties, by announcement at the examination, or as set forth in

 a notice filed with the Court and served on Atlantic Capital and its counsel and the Trustee. It is

 further
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        ORDERED that if attendance and, if applicable, production of designated documents in

 connection with said examination, cannot be obtained voluntarily, the Movant may compel such

 attendance and production of documents as stated in Fed.R.Bankr.P. 2004(c) in the manner

 provided in Fed.R.Bankr.P. 9016, which incorporates the procedure for the issuance of a subpoena

 as set forth in Federal Rule of Civil Procedure 45. It is further

        ORDERED that Atlantic Capital shall timely respond to any document requests made by

 the Movant in accordance with Fed.R.Bankr.P. 2004(c). Atlantic Capital may assert written

 objections in good faith to the requests as if such requests had been served pursuant to

 Fed.R.Bankr.P. 7034 and shall produce to the Movant all responsive documents that are not subject

 to a valid timely asserted objection.

        The Clerk is directed to serve a copy of this Order upon counsel for the Movant, Atlantic

 Capital, the Chapter 7 Trustee, and the United States Trustee.


                                   ***END OF DOCUMENT***

 Prepared and Presented by:

 LAW OFFICES OF HENRY F. SEWELL JR., LLC

  /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053
 hsewell@sewellfirm.com

 Counsel for S. Gregory Hays, as Chapter 7 Trustee of Atlanta Light Bulbs, Inc.




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                                    Parties to Be Served



      SouthState Bank, National Association (Inc.)
      c/o Corporation Service Company
      2 SUN COURT, SUITE 400
      PEACHTREE CORNERS, GA, 30092

      SouthState Bank, National Association (Inc.)
      c/o John Corbett, CEO
      1101 First Street South
      Winter Haven, FL, 33880

      S. Gregory Hays, Trustee
      Suite 555, 2964 Peachtree Road NW
      Atlanta, Georgia 30305

      Henry F. Sewell, Jr.
      Suite 555, 2964 Peachtree Road NW
      Atlanta, Georgia 30305

      Office of the United States Trustee
      75 Ted Turner Drive, SW
      Suite 362
      Atlanta, Georgia 30303




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                       :       CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.                    :       CHAPTER 7
                                              :
                Debtor.                       :       JUDGE BAISIER

                                 CERTIFICATE OF SERVICE

         This is to certify that service of the within and foregoing Motion of Trustee for an Order
 Pursuant to Bankruptcy Rule 2004 Authorizing Examination of SouthState Bank, National
 Association (Inc.) fka Atlantic Capital Bank, N.A. was served via the United States Bankruptcy
 Court for the Northern District of Georgia's Electronic Case Filing System to all parties who have
 filed appearances and requested notices and by United States Mail with adequate postage affixed
 thereon and addressed as follows:

        SouthState Bank, National Association (Inc.)
        c/o Corporation Service Company
        2 SUN COURT, SUITE 400
        PEACHTREE CORNERS, GA, 30092

        SouthState Bank, National Association (Inc.)
        c/o John Corbett, CEO
        1101 First Street South
        Winter Haven, FL, 33880

 This 21st day of July, 2022.

                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                     /s/ Henry F. Sewell, Jr.
                     Henry F. Sewell, Jr.
                     Georgia Bar No. 636265
                     Buckhead Centre
                     2964 Peachtree Road NW, Suite 555
                     Atlanta, GA 30305
                     (404) 926-0053
                     hsewell@sewellfirm.com

                     Counsel for S. Gregory Hays, as Chapter 7 Trustee of Atlanta Light Bulbs, Inc.
